                                                             The Order of the Court is stated below:
                                                             Dated: July 15, 2024            /s/ MARK KOURIS
                                                                    11:46:53 AM                  District Court Judge




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          Licensed Paralegal Practitioner for Petitioner


               IN THE THIRD JUDICIAL DISTRICT
                COURT OF SALT LAKE COUNTY
                         STATE OF UTAH
            450 South State St, P.O. Box 1860, Salt Lake
                           City, UT 84114
           In the matter of the marriage of:
                                                              FINDINGS OF FACT AND
           JENNIFER RUTH KAMP,                                CONCLUSIONS OF LAW

                  Petitioner,

           and

           JASON PAUL KAMP,                                   Civil No. 244903181
                                                              Judge Kouris
                  Respondent.                                 Commissioner Tack


                  This matter comes before the court for final entry of the Decree of Divorce. The

          Stipulation of the parties was previously filed. The Court having reviewed the Stipulation of the

          parties and the pleadings in this matter and being fully advised in the premises, now makes its

          Findings of Fact and Conclusions of Law as follows:

                                                 FINDINGS OF FACT


                                         GROUNDS AND JURISDICTION

                          1. Residency. Petitioner (hereinafter “Jennifer”) has been a resident of Salt Lake

          County for at least three months prior to the filing of this action.


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                         2. Marriage Statistics. Jennifer and the Respondent (hereinafter “Jason”) were

          married on May 16, 1996, in Murray, UT. Parties separated on or about March 10, 2024.

                         3. Grounds. Since the marriage, there have arisen irreconcilable differences

          between them, making it impossible to continue the marital relationship.

                                                   CHILD CUSTODY

                         4. Child. There have been 4 children born as issue of this marriage, only one of

          whom is a minor:

                          Name                          Month/Year of Birth
           GMK                                     August 2006

                         5. Child Custody Jurisdiction. Utah has jurisdiction to make the initial child

          custody determination pursuant to U.C.A. §78B-13-101, et seq. The child has resided in Utah for

          at least six consecutive months immediately before the commencement of this proceeding, and

          Utah is the home state of the child. A court of another state does not have jurisdiction over the

          child, and the child and at least one parent have a significant connection with Utah, and

          substantial evidence is available in Utah concerning the child’s care, protection, training, and

          personal relationships.

                         6. Custody/Visitation. The parties should be awarded joint legal custody of the

          minor child with Jennifer awarded sole physical custody, subject to parent time at reasonable

          times and places in accordance with the needs and wishes of the minor child.

                                                  PARENTING PLAN

                         7. Parenting Plan. The parties should be bound by the following parenting plan

          which is filed in good faith:

                                    a. Special consideration should be given by each parent to make the child


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          available to attend family functions including funerals, weddings, family reunions, religious

          holidays, important ceremonies, and other significant events in the life of the child or in the life

          of either parent which may inadvertently conflict with the parent-time schedule;

                                 b. The parents should notify each other of any special events involving

          the child such as school activities, church events, sports events, graduations, etc., so that each

          party should have the option of attending the special event if possible. For any event that is not

          posted online, each party should notify one another within 24 hours of receiving notice of all

          significant school, social, sports, and community functions in which the child is participating or

          being honored, and both parties should be entitled to attend and participate fully. The parties

          should share passwords for any school website so each can access events and school work

          online.

                                 c. For emergency purposes, when traveling with the minor child, the

          parties should give all information required by Utah Code § 30-3-36, to wit: (1) an itinerary of

          travel dates; (2) destinations; (3) phone numbers where the child or traveling parent can be

          reached; and, (4) the name and telephone number of an available third person who would be

          knowledgeable of the child’s location.

                                 d. Either parent may make emergency decisions regarding the health or

          safety of the child.

                                 e. The parent, with whom the child is residing at the time, should make

          day-to-day decisions regarding the care, control and discipline of the parties’ child.

                                 f. Each parent should notify the other parent of significant illnesses the

          child may have when they are at each parent’s individual homes.




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                                 g. Both parents should be allowed to call the minor child at reasonable

          times. The child may call either parent at reasonable times.

                                 h. Any parental rights not specifically addressed by this Parenting Plan

          may be exercised by the parent having physical custody of the child the majority of the time.

                                 i. SERVICEMEMBER(S): Neither parent is currently serving in the

          military. In the event that either does enlist in the future, the parenting plan shall be amended to

          contain provisions that address the foreseeable parenting and custodial issues likely to arise in

          the event of notification of deployment or other contingency, including long-term deployments,

          short-term deployments, death, incapacity, and noncombatant evacuation operation.

                                                 CHILD SUPPORT

                         8.      Child Support. Jason’s gross monthly income is $10,524. Jennifer’s gross

          monthly income is $5,000. Father’s child support obligation should be $931 per month.         The

          child support obligation of Father should be effective July 1, 2024, and continue in accordance

          until a child becomes 18 years of age or graduates from high school during the child’s normal

          and expected year of graduation, whichever occurs later, or if the child dies, marries, becomes a

          member of the armed forces of the United States or is emancipated.

                         9.      Time and Method of Payment. Jason should make said child support

          payments to Jennifer, one-half on or before the fifth day of each month and one-half on or before

          the twentieth day of each month. Jennifer is allowed to implement automatic income

          withholding procedures through the State of Utah, Office of Recovery Services.

                  CHILD CARE, SCHOOL FEES, AND EXTRACURRICULAR ACTIVITIES

                         10. Child Care Expenses. Due to the age of the minor child, the parties do not




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          anticipate the need for work-related child care; however, should it become necessary, the parties

          will adopt the guidelines found in U.C.A. §78B-12-214.

                         11.     School Fees. The minor child has graduated from high school and all

          secondary education school fees have been paid.

                         12.     Extracurricular Activities.. Each party shall be ordered to assume and be

          responsible for fifty percent (50%) of any out-of-pocket amount incurred for any mutually

          agreed-upon in writing extracurricular activities that the minor children may be involved in. The

          party incurring the extracurricular activity out-of-pocket costs shall submit to the other party

          verification of the incurred expense, such as a receipt or an invoice, within thirty (30) days of

          payment or receiving the same and shall be reimbursed by the other party within thirty (30) days

          of receiving the verification of incurred expenses. A party who incurs an expense for a child’s

          extra-curricular activity without receiving prior consent from the other parent shall be solely

          responsible for that expense.

                                                     INSURANCE

                         13. Medical/Dental Expenses. In accordance §78B-12-212, the court will order

          that insurance for the medical expenses of the minor children be provided by a parent. Either

          parent shall provide health care coverage for the medical expenses of their minor children as

          defined by 78B-12-102. The party who can obtain the best coverage at the most reasonable cost

          will obtain insurance for the medical expenses of the minor children.

                                 a. Each parent will share equally the out-of-pocket costs of the premium

          actually paid by a parent for the child's portion of insurance. The child's portion of the premium

          is a per capita share of the premium actually paid. The premium expenses for the child will be




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          calculated by dividing the premium amount by the number of persons covered under the policy

          and multiplying the result by the number of children in the instant case. A parent may deduct the

          other parent’s health insurance premium share from the child support obligation if they are the

          child support obligor and are paying the health insurance premiums as indicated herein.

                                 b. Each parent will share equally all reasonable and necessary uninsured

          medical, dental, orthodontia, eye care, counseling, prescriptions, deductibles, and copayments,

          incurred for the dependent child and actually paid by the parents.

                                 c. The parent ordered to maintain insurance will provide verification of

          coverage to the other parent upon initial enrollment of the dependent child, and thereafter on or

          before January 2, of each calendar year, if there is a change in the previous coverage or provider.

          The parent will notify the other parent of any change of insurance carrier, premium, or benefits

          within 30 calendar days of the date he or she first knew or should have known of the change.

                                 d. The parent who incurs medical and dental expenses will provide

          written verification of the cost and payment of medical and dental expenses to the other parent

          within 30 days of payment. The other parent will remit payment within 30 days of receipt of the

          verification. If neither party is able to secure said insurance at a reasonable cost, each party

          should be responsible for the payment of one-half of all reasonable and necessary medical and

          dental expenses for the minor child as indicated.

                                 e. In addition to any other sanctions provided by the court, a parent

          incurring medical expenses may be denied the right to receive credit for the expenses or to

          recover the other parent's share of the expenses if that parent fails to comply with Subsection (d).




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                                 f. If, at any point in time, the dependent child is covered by the health,

          hospital, or dental insurance plans of both parents, the health, hospital, or dental insurance plan

          of Jennifer will be primary coverage for the dependent child and the health, hospital, or dental

          insurance plan of Jason will be secondary coverage for the dependent child. If a parent remarries

          and his or her dependent child is not covered by that parent's health, hospital, or dental insurance

          plan but is covered by a step-parent's plan, the health, hospital, or dental insurance plan of the

          step-parent will be treated as if it is the plan of the remarried parent and will retain the same

          designation as the primary or secondary plan of the dependent child.

                                 g. Division of Accounts. Pursuant to Utah Code Annotated §15-4-6.7,

          the parties may elect that medical/dental or school expenses be divided by the service provider

          into two separate accounts for payment, one for each parent as long as the service provider

          receives a copy of the Decree of Divorce at or before the day on which the service provider first

          renders medical/dental services or issues a bill for school fees.

                                                     TAX CREDIT

                         14. Child Tax Credit. Jennifer will be entitled to claim the minor child as a child

          tax credit for the 2024 tax year.

                                                      ALIMONY

                         15. Alimony. Jennifer and Jason are each capable of supporting himself and

          herself; and, therefore, neither should be awarded alimony. Both Jennifer and Jason waive and

          relinquish the right to receive alimony from the other both now and in the future.

                                                      PROPERTY




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                         16. Personal Property. During the course of the marriage relationship, the parties

          have acquired certain personal property. The parties are each awarded the personal property that

          is in his or her respective possession on the date of the Stipulation, or except where further

          specified as follows:

                                  Item Description:                           Awarded to:
                     2020 Hyundai Kona Electric Limited                         Jennifer
                     2003 Chevy Truck Silverado                        Jennifer/ERK (adult child)
                     1999 Ford F250 Truck                                        Jason
                     Tractor                                                     Jason
                     2018 Hyundai Kona                                           Jason
                     2009 Hyundai Elantra                              Jason/GMK (minor child)
                     Joint MACU Checking Account x8875                           ½ each
                     Jennifer’s MACU Checking/Savings                           Jennifer
                     Account x5035
                     Jason’s MACU Checking/Savings Account                        Jason
                     Charles Schwab Investment Account x5841                      Jason
                     URS Retirement Account x9926                                 Jason

                                  a. During the course of the marriage, the parties acquired separate

          checking and savings accounts. Each party should be awarded the money in his or her separate

          checking, and/or savings accounts as his/her sole separate property with no claim by the other

          party. Jennifer and Jason have a joint account at Mountain America Credit Union which they

          will close no later than 10 days from the signing of the Stipulation.

                                  b. The parties will pick up personal property from the marital home

          within 30 days from the date the Stipulation is signed at a mutually agreed upon time. Both

          parties will cooperate with each other in distributing the personal property.

                         17. Real Property. During the course of the marriage, the parties acquired a home

          and real property located at 2246 W Surrey Road, Taylorsville, UT. Said property has been listed

          and should be sold as soon as reasonably practicable.



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                                  a. Jennifer has already signed a Quit-Claim Deed, transferring all of her

          interest in the real property to Jason.

                                          i.        This effectuated the pay-off of the debt Jennifer owed

          Jason (see paragraph 19) and her debt to him is now considered paid-in-full.

                                  b. Jennifer should reside in the home until it sells.

                                  c. Jennifer will maintain the home. In the event repairs are required, and

          deemed necessary by the listing agent, the parties will pay ½ each.

                                  d. The mortgage payment will be paid by Jason.

                                  e. Jason will be entitled to claim the mortgage interest deduction on the

          home until the home is sold.

                                  f. The listing and selling price of the home will be mutually determined

          by the parties. If the parties cannot agree, this issue is reserved by the Court.

                                  g. All real estate taxes and property insurance which are not escrowed

          will be paid as follows: ½ to each party.

                                  h. Any lien on the property in Jennifer Kamp’s name will be paid by

          Jennifer in order to effectuate closing of the home sale.

                                  i. When the home sells, the proceeds of the sale will be applied as

          follows:

                                          i.        First, to pay expenses of sale;

                                          ii.       Second, to retire all joint mortgages;

                                          iii.      Last, as part of the parties’ global settlement agreement,

          any and all remaining proceeds will be awarded to Jason.




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                                              BUSINESS INTERESTS

                         18. Business Interests. During the course of the marriage, the parties acquired an

          interest in Jennifer Ruth Kamp LLC. Said business interest should be awarded to Jennifer free

          and clear of any claim from Jason. Jennifer is also awarded all right, assets, accounts and

          interest in the business and will assume and pay all debt associated with the business holding the

          Jason harmless from liability therefrom.

                                                        DEBTS

                         19. Debts. Jennifer and Jason have acquired debts during the marriage. Each

          will assume, and hold the other harmless from liability on, the following debts:

                            Creditor                           Approx. Balance            Obligation of:
           MACU x8875 ID 01 (2018 Hyundai Kona)              $10,832.38                Jason
           MACU x8875 ID 64 (2003 Chevrolet
           Silverado Truck)                                  $6,184.52                 Jennifer
           Golden West Credit Union (2020 Hyundai            $27,640.45                Jennifer
           Kona EV)
           United Wholesale Mortgage company                 $559,582.41               Jason (to be paid
                                                                                       with proceeds of
                                                                                       home sale)
           Jason Kamp                                        $174,280                  Jennifer (paid in full
                                                                                       with recording of
                                                                                       Quit Claim Deed)
           MACU x8875 ID 86) HELOC (legal fees)              $100,000                  Jason (to be paid
                                                                                       with proceeds of
                                                                                       home sale)
           Hepworth Legal Fees                               $98,0000                  Jennifer

                                 a. Neither party will incur any additional liability on joint credit cards or

          any joint accounts.

                                 b. Other Debts. Each party will be responsible to pay any other debt he

          or she individually incurred. If any other joint debts are later discovered and not stated and




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          divided herein, the person incurring the debt will be solely responsible for the payment thereof

          and should hold the other party harmless therefrom.

                                  c. Creditors. The parties understand that for joint debts upon the entering

          of the Decree of Divorce of joint debtors, the claim of a creditor remains unchanged unless

          otherwise provided by the contract, or until a new contract is entered into between the creditors

          and the debtors individually.

                                  d. Notification to Creditors. The parties may notify their respective

          creditors for joint debts regarding the court’s division of debts, obligations, or liabilities, and

          regarding the parties’ separate current addresses.

                                  e. Delinquency in Payments. If either party is obligated on a

          joint-secured debt, the payment of that debt must remain current. In the event that a payment is

          not paid in a timely manner, the secured asset must be placed immediately on the market for sale

          in order to protect the joint debtors. A party who makes payment on a delinquent debt in order to

          protect his or her credit rating, may seek reimbursement of the payment of that debt in addition

          to interest and attorney’s fees from the other party.

                                              FINANCIAL ACCOUNTS

                          20. Retirement. Both parties have retirement, pension, 401 (k), stock, stock

          options, and/or profit sharing plans through his or her places of employment or otherwise.

          Jennifer has a John Hancock retirement account (x8868) and Jason has a Decision Point account

          (x9926). As part of the global settlement, it is fair and equitable that Jennifer and Jason will each

          be awarded her or his own retirement accounts, pension funds, or individual retirement accounts,

          free and clear of any claim by the other party




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                                                  LIFE INSURANCE

                         21. Life Insurance. Neither party has an interest in any life insurance policy

          which has a cash value. The parties will maintain or cancel their individual policies as they see

          fit.

                                               MUTUAL RESTRAINT

                         22. Jennifer and Jason are restrained from speaking derogatorily about the other

          parent or speaking to the child about the issues in this case, or from attempting to influence a

          child’s preference regarding custody or parent time which would tend to diminish the love and

          affection of the child for the other parent. Jennifer and Jason should be mutually restrained from

          harassing, annoying, or otherwise bothering the other party. Jennifer and Jason should be

          mutually restrained from allowing third parties to do what they themselves are prohibited from

          doing under this paragraph, and will have the affirmative duty to use his or her best efforts to

          prevent third parties from such violation, or will remove the child from such circumstances.

                         23. Both parties should be restrained from making visitation arrangements

          through the children or from using the minor child as a messenger.

                         24. Neither party should use the other party’s name, likeness, image,

          identification, or credit of the other party to obtain credit, open an account for service, to post to

          websites such as Facebook or other social media.

                         25. Both parties should be restrained from coming to the home, work place, or

          places where the other party is known to be present without the other party’s express permission.

          Prearranged parent-time exchanges should be an express exception to this restraint.




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                          26. Resolution. Except for exigent circumstances or enforcement, the parties will

          participate in mediation prior to initiating litigation in the court.

                                          MISCELLANEOUS PROVISIONS

                          27. Attorney's Fees and Costs. Each of the parties should be ordered to assume

          his or her own respective attorney fees and litigation costs incurred in this action.

                          28. Former Name. Should she desire, Jennifer should be restored to her former

          name of Jennifer Ruth Erickson. The Court should enter an Order of Name Change, if necessary.

                          29. Non-Representation Clause: Jason acknowledges that he has a right to retain

          counsel to represent him in this matter, but has decided not to seek legal representation. He

          understands that he is not entitled to rely upon the legal counsel of Jennifer to inform him of his

          legal rights, and acknowledges that Jessica Moody is counsel for Jennifer and is not acting as

          counsel for Jason.

                          30. Fair Settlement Disclosure: Both parties disclose that the terms herein are fair

          and reasonable and that they agree to the terms herein voluntarily and of his or her own free will,

          and that he or she does so free from any undue influence, threat, or duress.

                          31. Final Stipulation: This Stipulation is entire and complete and embodies all

          understandings and agreements between the parties. No prior or contemporaneous oral or

          written agreements or matters outside of this Stipulation shall have any force or effect. Jennifer

          and Jason are aware that they have a right to proceed to trial in this matter to present all of their

          evidence and witnesses, but waive this right. Jennifer and Jason are satisfied that the Stipulation

          is fair and reasonable. There are no questions Jennifer and Jason have to ask or unresolved




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          issues that need to be addressed. All issues either party wishes to raise have been incorporated in

          this stipulation.

                            32. The parties understand that Jennifer’s counsel does not offer legal advice as to

          the tax implications herein and are aware that they have the right to seek advice from a tax expert

          as to the specific tax consequences to them prior to signing the Stipulation.

                            33. Both parties will sign whatever documents are necessary to transfer title and

          quit claim deeds or any other documents necessary that are outlined in the Decree of Divorce and

          are necessary to implement the Decree of Divorce.

                            34. The parties agree that the above-referenced court has jurisdiction to make a

          final determination in this action. The court has authority to enter final documents and a Decree

          based on the Stipulation of the parties.

                                                CONCLUSIONS OF LAW

                            1.     This Court has jurisdiction over the parties in the above matter.

                            2.     Petitioner is entitled to the entry of a Decree of Divorce dissolving the

          marriage of the parties on the grounds of irreconcilable differences.

                            3.     That the terms of the Decree of Divorce comport with the Findings of Fact

          entered herein.



               Order is signed when electronically stamped by the Court on the first page



          APPROVED AS TO FORM:
          With the permission of:

          /s/ Jason Paul Kamp (by email authorization on 7/12/2024)


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          JASON PAUL KAMP, Respondent




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